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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 15-cv-00992-RBJ-KLM

  AHMAD AJAJ,

         Plaintiff,

  v.

  FEDERAL BUREAU OF PRISONS,

         Defendant.



                                AMENDED FINAL JUDGMENT


         In accordance with the orders filed during the pendency of this case, and

  pursuant to Fed. R. Civ. P. 58(a), the following Amended Final Judgment is hereby

  entered.

         This action was tried before United States District Judge R. Brooke Jackson, and

  the Court has rendered its Findings, Conclusions and Order of Judgment on September

  13, 2018 [ECF No. 291]. It is

         ORDERED, that plaintiff’s claim regarding entitlement to a certified halal diet is

  resolved in favor of the plaintiff to the extent that the Federal Bureau of Prisons is

  enjoined from discontinuing to provide to Mr. Ajaj a certified halal diet unless that is

  required to serve a compelling governmental interest, and no reasonable alternative

  exists. Judgment is entered in favor of the plaintiff on this claim. It is
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         FURTHER ORDERED THAT plaintiff’s claim regarding access to an Imam is

  resolved in favor of the defendant, Federal Bureau of Prisons, and against the plaintiff,

  Ahmed Ajaj. Judgment is entered in favor of the defendant on this claim. It is

         FURTHER ORDERED that judgment on all other claims is entered consistent

  with the Court’s orders issued prior to trial. It is

         FURTHER ORDERED that the plaintiff is awarded reasonable attorney’s fees. It

  is

         FURTHER ORDERED that the plaintiff is awarded costs, to be taxed by the Clerk

  of the Court pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1.

          Dated at Denver, Colorado this 15th day of April, 2019.



                                                         FOR THE COURT:
                                                         JEFFREY P. COLWELL, CLERK

                                                 By: s/ J Dynes
                                                            J DYNES
                                                            Deputy Clerk


  APPROVED BY THE COURT:
   s/ R. Brooke Jackson
   United States District Judge
